Case 1:18-cr-20092-CMA Document 1 Entered on FLSD Docket 02/14/2018 Page 1 of TB
                                                                              6


                                                                                           Feb 13, 2018
                            UNITED STATES DISTRICT COURT
                            SO U TH ER N DISTR ICT O F FLO R ID A
             18-20092-CR-ALTONAGA/GOODMAN
                            CA SE N O .
                                          21U.S.C.j963
                                          21U.S.C.j853
 U M TED STA TES O F AM ER ICA

 V S.

 D A NILO ILD EFON SO L O PEZ-C ASTILLO ,
        a/k/a (dFast''

                               D efendant.
                                                /

                                        INFO RM A TION

        The United States Attom ey chargesthat:

        Beginning atleastasearly asin and arotmd January 2012,the ekactdate being unknown

 to the United StatesA ttorney,and continuing through January 2017,in the cotm tliesofColom bia,

 Costa ltica,Guatem ala,H onduras,M exico,Panam a,and elsewhere,the defendant,

                         D AN ILO ILD EFO N SO LO PEZ-CA STILLO ,
                                           a/k/a (Eli
                                                    nast''

 did know ingly and w illfully com bine,conspire,confederate and agree w ith otherpersons lcnow n

 and unknown to the Grand July to distribute a controlled substance in Schedule II,intending,

 lcnow ing, and having reasonable cause to believe that such controlled substance w ould be

 unlaw fully im ported into the U nited States,in violation of Title 21,U rlited States Code,Section

       'a11inviolationofTitle21,United StatesCode,Section 963.
 959(a),
        The conkolled substance involved in the conspiracy attributable to the defendantasaresult

 ofhisow n conduct,and the conductofother conspiratorsreasonably foreseeable to him ,is five
Case 1:18-cr-20092-CMA Document 1 Entered on FLSD Docket 02/14/2018 Page 2 of 6




 (5)kilogramsormoreofamixtureand substancecontaining adetectableamountofcocaine,in
 violation ofTitle21,UnitedStatesCode,Sections963and960(b)(1)(B).
                                FO RFEITU R E AT,LE GA TIO N S

               The allegations contained in this Inform ation are re-alleged and incorporated by

 reference asthough fully setforth herein forthepup ose ofalleging forfeiture to the United States

 of Am erica of certéin property in which the defendant, D A M LO ILD EFO N SO L O PEZ-

 CA STILL O ,has an interest.

               Upon conviction of the violation alleged in this Inform ation,the defendant shall

 forfeittotheUnitedStatesanypropertyconstittlting,orderivedfrom,anyproceedsthedeibndant
 obtained,directly orindirectly,astheresultofsuch violation and anyproperty which the defendant

 used,orintended to be used,in any m annerorpart,to com m it,orto facilitate the com m ission of,

 such violation.

        A11pursuantto Title 21,U nited States Code,Sections 853 and 970.



   $                   p .G
 BEN JA M W G.G REEN BER G
 UN ITED STA TES A TTORN EY




 W A LTER M .N O O
 A SSISTA N T U N ITED STA TES A TTORN EY
                          UNITED STATES
 Case 1:18-cr-20092-CMA Document        DISTRI
                                 1 Entered  onCT CO URT
                                               FLSD  Docket 02/14/2018 Page 3 of 6
                          SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AM ERICA                          CASE NO.
VS.
                                                   CERTIFICATE O F TRIA L ATTO RN EY*
DANILO ILDNFONSO LOPEZ-CASTILLO,
      alkla HFastj''
      Defendant.
                                         l        Superseding Case Information:

CourtDivision:(SelectOne)                         New Defendantts)                       Yes              No
                                                  Num berofNew Defendants
                                                  Totalnumberofcounts
 X FMi
    TLami              wKeIBWest         FTp
      Ido herebycertifythat:
              Ihave carefullyconsi
                                 deredthe allegationsofthe indictmeqtthenumberofdefendants,the number
              ofprobablewitnessesandtheIegalcomplexitiesoftheIndlltment/lnformationattachedhereto.
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              Act,Title 28 U-.S.C.Section 3161.
      3.      Iqterpreter:      (YesqrNo)          Yes
              L1stIanguage and/ordlalect             panlsh
      4.      Thi
                s case willtake           0       days forthe padies to try.
              PleasecheckappropriatecategoryandtypeofoffenseIisied below:
              (Checkonl
                      yone)                                          (Checkonl
                                                                             yone)
              o to 5days                                x                     Pvtty
              6 to 10days                                                     Mlnor
              11to 20 days                                                    Mlsdem .
              21to 60 days                                                    Felony              x
              61days and over
      6.     HasthiscasebeenpreviouslyfileéinthisDistrictcourt?                (YesorNo)           No
      Ifyes:
      Judge:                    Case No.
      (Attachcopygfdispositive?rdel)
      H
        as a com plalntbeen filed Inthls m atter?           (YesorNo)
      Ifye?:
      Maglstrate Case No.
      Related Misc4llaneous num bers:
      Defendantls)lnfederalcustodyasof
      Defendantts)Instatecustodyasof
      Rule 20 from the
      Isthisa potentialdeathpenal
                                tycase? (YesorNo)                    M
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              Dgesthis case originatefrom a matterpending inthe NodhernRegionofthe U.S.Attorney'
                                                                                               s Office
              prlorto October14,2003?                                Yes             x     No

      8.      pr
              Does
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                       s case
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                                    2007?
                                     e from a m atterpending in the CentralRegion ofthe U.S.Attorney's Office
                                                             Yes           x No




                                                            W ALT    M=m O RKIN
                                                            ASSISTANT UNITED STATES ATTORNEY
                                                            Coud ID No.A5502189
*penal
     tySheetls)attached                                                                                            REV4/8/08
Case 1:18-cr-20092-CMA Document 1 Entered on FLSD Docket 02/14/2018 Page 4 of 6




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                           SO U TH ER N D ISTRIC T O F FL O RID A

                                      PEN A LTY SH EET

 D efendant'sN am e: D AN ILO ILDEFO N SO LO PE Z-CA STILL O

 Case N o:

 Count#:1

 Conspiracy to D isu bute a controlled substance know ing thatitw ould be im ported into the



 Title 21,U nited States Code,Section 963

 *M ax.Penalty:        Life Im pdsonm ent




   *R efersonly to possible term ofincarceration,doesnotincludepossible fines,restitution,
            specialassessm ents,parole term sror forfeituresthatm ay be applicable.
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                          UNITED STATES DISTR ICT CO UR T
                             SO U TH ER N DISTR IC T OF FL O RID A

                         CA SE NU M BER :

                                 BO ND R EC O M M EO A TIO N



DEFENDANT:DANILO ILDEFO NSO LO PEZ-CASTILLO

                PRETRIAL DETENTIO N
            (PersonalSurety)(CorporateStlretyl(Cash)tpre-TdalDetention)




                                            By:                 *
                                                   AUSA: W ALTER M .NO RKIN




LastKnown Address:G UATEM ALA




R atFacility'
            .




Agentts):           PAULCOHEN,DEA
                   (FBI) (SECRET SERVICE) (DEA) (IRS) (ICE) (OTHER)
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AO 455(Rev.01/09)Waiverofanlndictment

                                U NITED STATES D ISTRICT C OURT
                                                     forthe
                                           Southern DistrictofFlorida

               United StatesofAm erica
                           M.                                CaseN o.
      DANILO ILDEFONSO LOPEZ-CASTILLO,



                                         W AIVER OF AN IN DICTM ENT

       lunderstand thatlhavebeen accused ofone orm ore offensespunishableby im prisonmentform orethan one
year. Iwasadvised in open courtofmy rightsand thenattzre oftheproposed charges againstm e.

        Afterreceiying thisadvice,Iwaivem y righttoprosecution by indictmentand consentto prosecution by
inform ation.



Date:
                                                                           '
                                                                               Dejkndant'
                                                                                        ssignatttre



                                                                         Signatureofdefendant'sattorney


                                                                        Printednameofdefendant'
                                                                                              sattorney


                                                                                Judge'
                                                                                     ssignature


                                                                          Judge'
                                                                               sprinted name and title
